Order Form (01/2005)
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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge          Joan B. Gottschall              Sitting Judge if Other
        or Magistrate Judge                                           than Assigned Judge

   CASE NUMBER                              10 C 6312                            DATE               1/3/2011
            CASE                                        Clinical Wound Solutions, LLC vs. Fall et al.
            TITLE

  DOCKET ENTRY TEXT

  Opinion:
  Plaintiff Clinical Wound Solutions, LLC’s motion for remand [13] is granted. This case is remanded to state
  court. Defendant Strategic Resource Company is ordered to pay plaintiff’s attorney’s fees and costs
  associated with removal. Civil case terminated.




  O[ For further details see text below.]                                                               Docketing to mail notices.
                                                                                                            *Mail AO 450 form.




                                                            STATEMENT
          Plaintiff Clinical Wound Solutions, LLC (“Clinical Wound”) filed a complaint in the Circuit Court of
  Cook County naming as defendants Ronda Fall and Strategic Resource Company (“SRC”). According to the
  complaint, Clinical Wound provided Fall with medical supplies valued at over $7,000. (Compl. ¶¶ 4-5, 13.)
  Fall signed an Assignment of Benefits directing her insurer, SRC, to pay the insurance benefits for the
  equipment to Clinical Wound. (Id. ¶ 6.) The Assignment contract contained a promise by Fall personally
  guaranteeing payment for the medical supplies. (Id. ¶ 7.) Before providing the supplies, Clinical Wound
  called SRC to verify Fall’s coverage. “SRC unambiguously promised Clinical Wound that Fall’s insurance
  would cover 80% of the cost of the products furnished by Clinical Wound.” (Id. ¶¶ 15-16.) However, when
  Clinical Wound submitted its claim, SRC refused to pay. (Id. ¶¶ 21-22.)

          Clinical Wound’s complaint asserts two claims. Count I alleges that Fall breached her promise to
  personally guarantee payment of the insurance benefits. Count II seeks damages from SRC under a theory of
  promissory estoppel. On October 1, 2010, SRC filed a notice purporting to remove the action from state
  court. (Doc. 1.) According to the notice, Fall is a beneficiary under an ERISA-qualified employee benefit
  plan. (Id. ¶ 5.) ERISA’s civil enforcement provisions completely preempt state law claims which seek to
  recover benefits due under an ERISA plan. ERISA § 502(a)(1)(B); Franciscan Skemp Healthcare, Inc. v.
  Cent. States Joint Bd. Health & Welfare Trust Fund, 538 F.3d 594, 596 (7th Cir. 2008). SRC argues that
  Clinical Wound is seeking to recover insurance benefits owed to Fall; its state law claims are preempted; and
  thus removal is proper. Clinical Wound moves for a remand to state court for lack of subject matter
  jurisdiction. (Doc. 13.)

          The court agrees with Clinical Wound that the disposition of this case is controlled by the Seventh
  Circuit’s opinion in Franciscan Skemp. In Franciscan Skemp, the plaintiff Franciscan Skemp Healthcare,
  Inc. (“Franciscan Skemp”), a healthcare provider, brought common law negligent misrepresentation and

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 estoppel claims against Central States Joint Board Health and Welfare Trust Fund (“Central States”), an
 employee benefit plan. Sherry Romine, who was a beneficiary of Central States by virtue of her
 employment, sought and received treatment from Franciscan Skemp. Franciscan Skemp called Central States
 before providing treatment to verify Romine’s coverage. Central States made a representation that Romine
 was covered. However, Romine’s coverage was later retroactively rescinded, and Central States refused to
 pay. Central States sought to remove the suit to federal court, arguing that Franciscan Skemp’s claims were
 preempted by ERISA. The Seventh Circuit held that the suit did not seek to recover benefits due under the
 plan, and thus was not preempted. 538 F.3d at 598-99. In fact, the parties agreed that Romine was not
 entitled to any benefits under the plan. Franciscan Skemp merely sought to hold Central States liable on the
 separate basis of its oral promise to provide coverage. Id. at 600.

         The facts of this case are indistinguishable from Franciscan Skemp. Clinical Wound seeks to enforce
 an alleged oral promise by SRC to pay for supplies provided to Fall. It does not seek benefits under the plan.

         SRC makes three arguments in an attempt to forestall a remand. First, it argues that Clinical Wound
 has failed to state a claim for promissory estoppel under the pleading standard of Bell Atlantic Corp. v.
 Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009). SRC does not adequately
 explain how a pleading deficiency would necessitate the court maintaining jurisdiction. In any event, the
 argument is without merit. Twombly and Iqbal do not require fact pleading, but simply call for plaintiffs to
 plead enough factual matter to demonstrate that the claim is plausible. Tamayo v. Blagojevich, 526 F.3d
 1074, 1082-83 (7th Cir. 2008). Clinical Wound’s complaint clearly meets this standard. In Illinois, a claim
 for promissory estoppel has four elements: (1) defendant made an unambiguous promise to plaintiff, (2)
 plaintiff relied on the promise, (3) plaintiff’s reliance was foreseeable, and (4) plaintiff suffered damages as a
 result of its reliance. Quake Constr., Inc. v. Am. Airlines, Inc., 565 N.E.2d 990, 1004 (Ill. 1990). In this case,
 Clinical Wound alleges that, before providing medical equipment to Fall, it contacted SRC, and “SRC
 unambiguously promised Clinical Wound that Fall’s insurance would cover 80% of the cost of products
 furnished by Clinical Wound.” These allegations are not detailed, but there is sufficient factual matter
 alleged to put SRC on notice of the claim against it.

         Second, SRC attempts to distinguish the facts of Franciscan Skemp. SRC argues that this case is
 different because Clinical Wound has also sued Fall. Fall, the insurance beneficiary, executed an Assignment
 of Benefits giving Clinical Wound the power to recover Fall’s benefits from SRC. Clinical Wound has sued
 Fall based on a promise in the Assignment of Benefits, and it attaches the Assignment to the complaint.
 However, this argument is just an attempt to confuse the issues. Clinical Wound does not seek to enforce the
 Assignment against SRC. Clinical Wound has sued Fall for breach of her promise to guarantee payment of
 the claim, and it has sued SRC based on a promise which is independent of Fall’s rights as a beneficiary. The
 fact that Fall is a defendant in this action may distinguish this case factually from Franciscan Skemp, but
 SRC points to no meaningful legal distinction.*

         Finally, SRC contends that, during the phone call between Clinical Wound and SRC, Clinical Wound
 merely inquired about the terms of the policy, and that SRC did not promise to certify a claim. SRC cites
 Jass v. Prudential Health Care Plan, Inc., 88 F.3d 1482 (7th Cir. 1996), for the proposition that a plaintiff
 may not avoid complete preemption by leaving out key facts from the complaint. But even if SRC is correct
 about the facts, the court is not deprived of jurisdiction because Clinical Wound is not attempting to establish
 that SRC owes insurance benefits to Fall. If Clinical Wound is ultimately unable to prove that a promise was
 made as alleged in the complaint, then it will not be entitled to any relief. The terms of Fall’s insurance
 policy are irrelevant to determining the truth or falsity of Clinical Wound’s allegation.


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         Clinical Wound seeks attorney’s fees and costs incurred as result of removal pursuant to 28 U.S.C. §
 1447(c). The Supreme Court has held that, “courts may award attorney’s fees under § 1447(c) only where
 the removing party lacked an objectively reasonable basis for seeking removal.” Martin v. Franklin Capital
 Corp., 546 U.S. 132 (2005). The standard in Martin seeks to balance a defendant’s interest in obtaining
 removal where appropriate and a plaintiff’s interest in avoiding delays caused by an unjustified removal.
 Lott v. Pfizer, Inc., 492 F.3d 789, 793 (7th Cir. 2007). “If at the time the defendant filed his notice in federal
 court, clearly established law demonstrated that he had no basis for removal, then a district court should
 award a plaintiff his attorneys’ fees.” Id. In this case, Franciscan Skemp clearly controlled the outcome of
 this case. SRC was unable to make a reasonable argument to distinguish the holding because the facts of this
 case are virtually identical. Accordingly, the court will award Clinical Wound its fees and costs associated
 with removal.


 *       SRC also asserts that this case is distinguishable from Franciscan Skemp because, before filing this
 suit, Clinical Wound attempted to claim Fall’s benefits, and SRC denied the claim. As Clinical Wound
 points out in reply, however, SRC has misstated the facts of Franciscan Skemp. Franciscan Skemp did file a
 claim with Central States based on Romine’s assignment of benefits. The claim was rejected because, as
 Franciscan Skemp learned, Romine had failed to pay her COBRA premiums. Franciscan Skemp did not
 quarrel with Central States’ decision to deny benefits under the ERISA plan. Rather, it sought to hold
 Central States liable for its oral promise to pay for treatment. 538 F.3d at 597-98.




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